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                                         UNITED STATES DISTRICT COURT

                                       EASTERN DISTRICT OF CALIFORNIA



            GARY PALMER,                          )                 CASE NO. 2:05-CV-1935-MCE-GGH
                                                  )
                       Plaintiff,                 )                 ORDER, AT REQUEST OF PLAINTIFF,
                                                  )                 DISMISSING DEFENDANT THE
                 v.                               )                 KITCHEN COLLECTION, INC. WITH
                                                  )                 PREJUDICE
            CHELSEA FINANCING PARTNERSHIP, LP, et )
            al.,                                  )
                                                  )
                       Defendants.                )
                                                  )
                                                  )
                                                  )

                   IT IS HEREBY ORDERED that Plaintiff’s complaint and all claims therein are dismissed in

            their entirety with prejudice as to defendant THE KITCHEN COLLECTION, INC. only, referred to

            in the complaint filed by Plaintiff as The Kitchen Collection dba Kitchen Collection Factory Outlet.

            DATED: February 23, 2006

                                                     __________________________________
                                                     MORRISON C. ENGLAND, JR
                                                     UNITED STATES DISTRICT JUDGE




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